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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CATHOLIC LEGAL IMMIGRATION
 NETWORK, INC., et al.,

                Plaintiffs,

        v.

 EXECUTIVE OFFICE OF IMMIGRATION                            Case No. 21-cv-094
 REVIEW, et al.,

                Defendants.                                 Document Electronically Filed


                 MOTION FOR LEAVE TO USE ALTERNATE ADDRESS

       Pursuant to Federal Rule of Civil Procedure 7(b) and Civil Local Rule 7, Plaintiff Florence

Immigrant and Refugee Rights Project (the “Florence Project”), by counsel, hereby moves the

Court for leave to proceed through use of an alternate address rather than the “full residence

address” normally required under Local Civil Rule 5.1(c)(1). For the reasons set forth in the

attached declaration, the Florence Project possesses a fear of reprisal—including fear of property

damage, and physical harm to its staff and clients—if it provides its residence address on the public

docket, and there is no countervailing public interest in public disclosure of their residence

addresses or prejudice to the Defendants.

       In support of this motion, the Florence Project relies upon the attached memorandum of

points and authorities and an accompanying declaration, attached as Exhibit A. Per Civil Local

Rule 7(c), a proposed order is attached as Exhibit B. As the case was filed yesterday, January 11,

2021, opposing counsel has not yet been assigned, preventing Plaintiff from fulfilling the meet and

confer procedure set out in Local Civil Rule 7(m).



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Dated: January 12, 2021                              Respectfully submitted,

                                              By: s/ Keren Zwick

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